Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 1 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 2 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 3 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 4 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 5 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 6 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 7 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 8 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00    Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 9 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 10 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 11 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 12 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 13 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 14 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 15 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 16 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 17 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 18 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 19 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 20 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 21 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 22 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 23 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 24 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 25 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 26 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 27 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 28 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 29 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 30 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 31 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 32 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 33 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 34 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 35 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 36 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 37 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 38 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 39 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 40 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 41 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 42 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 43 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 44 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 45 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 46 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 47 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 48 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 49 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 50 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 51 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 52 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 53 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 54 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 55 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 56 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 57 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 58 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 59 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 60 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 61 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 62 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 63 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 64 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 65 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 66 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 67 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 68 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 69 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 70 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 71 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 72 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 73 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 74 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 75 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 76 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 77 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 78 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 79 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 80 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 81 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 82 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 83 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 84 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 85 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 86 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 87 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 88 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 89 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 90 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 91 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 92 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 93 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 94 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 95 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 96 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 97 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 98 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
           Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 99 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 100 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 101 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 102 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 103 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 104 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 105 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 106 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 107 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 108 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 109 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 110 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 111 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 112 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 113 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 114 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 115 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 116 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 117 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 118 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 119 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 120 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 121 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 122 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 123 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 124 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 125 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 126 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 127 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 128 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 129 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 130 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 131 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 132 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 133 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 134 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 135 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 136 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 137 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 138 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 139 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 140 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 141 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 142 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 143 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 144 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 145 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 146 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 147 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 148 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 149 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 150 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 151 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 152 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 153 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 154 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 155 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 156 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 157 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 158 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 159 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 160 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 161 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 162 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 163 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 164 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 165 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 166 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 167 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 168 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 169 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 170 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 171 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 172 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 173 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 174 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 175 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 176 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 177 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 178 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 179 of 180
Case:17-03283-LTS Doc#:24302-31 Filed:05/24/23 Entered:05/24/23 13:30:00     Desc:
          Appendix Exhibit 6 to Injunction Request Dkt 2-6 Page 180 of 180
